









Dismissed and Memorandum Opinion filed February 5, 2004









Dismissed and Memorandum Opinion filed February 5,
2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00004-CR

____________

&nbsp;

STEVEN HERNANDEZ,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 967,912

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to the offense of aggravated
sexual assault of a child.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on November 17, 2003, to confinement for 18 years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed February 5, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





